         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 1 of 54




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN ZACKERY GILBRIDE-WONDERLIN,                         :
                                                         :
      Plaintiffs,                                        :
                                                         :
       vs.                                               :           CIVIL ACTION
                                                         :
BEST CAR N’ CARE, INC., WESTLAKE                         :        NO. 2:23-cv-03946-MRP
SERVICES, LLC d/b/a WESTLAKE FINANCIAL                   :
SERVICES, CORSA MOTORS, LLC and F.C.                     :
KERBECK & SONS d/b/a LAMBORGHINI                         : JURY TRIAL OF TWELVE DEMANDED
PALMYRA, OLEG TYULENEV,                                  :
                                                         :
      Defendants.                                        :
                                                         :

   ANSWER OF DEFENDANT WESTLAKE SERVICES, LLC d/b/a WESTLAKE
FINANCIAL SERVICES TO PLAINTIFF’S SECOND AMENDED COMPLAINT WITH
      AFFIRMATIVE DEFENSES, CROSS-CLAIMS AND JURY DEMAND

       Defendant, Westlake Services, LLC d/b/a Westlake Financial Services (hereinafter

“Westlake”) hereby responds to Plaintiff’s Second Amended Complaint as follows:

                                    AS TO INTRODUCTION

       Denied. This paragraph does not contain an allegation to which a response is required. If

a response is deemed necessary, Plaintiff’s Second Amended Complaint is a writing that speaks

for itself. Westlake denies any and all liability to Plaintiff. Westlake also denies that any conduct

attributable to it is or was unconscionable, fraudulent or “irreprehensible”, either as alleged in the

Second Amended Complaint or in any other manner whatsoever. To the extent these allegations

refer to Plaintiff’s state of mind, no response is required.

I.     AS TO THE PARTIES

       1.      Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.



                                                   1
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 2 of 54




       2.      Denied. These allegations are conclusions of law to which no response is required.

       3.      Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       4.       Denied.   These allegations are directed to parties other than Westlake and,

therefore, no response is required. Westlake is aware that Best Car N’ Care was an independently

owned and operated used motor vehicle dealer with locations in Florida and New York.

       5.      Denied in part, admitted in part. It is admitted that Westlake is a limited liability

company organized under the laws of the State of Delaware that conducts business in the

Commonwealth of Pennsylvania. The remaining allegations are conclusions of law to which no

response is required.

       6.      Denied as stated. Westlake has a principal place of business located at 4751

Wilshire Blvd., #100, Los Angeles, California.

       7.      Denied as stated. Westlake is a consumer finance company engaged in the business

of purchasing and servicing motor vehicle retail installment sales contracts. Westlake is aware

that Best Car N’ Care was an independently owned and operated used motor vehicle dealer with

locations in Florida and New York.

       8.      Denied as stated. Westlake is a consumer finance company engaged in the business

of purchasing and servicing motor vehicle retail installment sales contracts.

       9.      Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       10.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.




                                                 2
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 3 of 54




       11.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       12.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       13.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       14.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       15.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       16.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       17.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

II.    AS TO JURISDICTION AND VENUE

       18.     Denied. Plaintiff’s Second Amended Complaint is a writing that speaks for itself.

Westlake denies any and all liability to Plaintiff.

       19.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       20.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       21.     Denied. These allegations are conclusions of law to which no response is required.




                                                  3
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 4 of 54




       22.     Denied. These allegations are conclusions of law to which no response is required.

If Plaintiff sustained any losses or damages, Westlake denies any and all liability for same.

       23.     Denied. These allegations are conclusions of law to which no response is

required.

III.   AS TO BACKGROUND

       24.     Denied. To the extent these allegations refer to Plaintiff’s state of mind, no

response is required. After reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of these allegations.

       25.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       26.     Denied. To the extent these allegations refer to Plaintiff’s state of mind, no

response is required. After reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of these allegations.

       27.     Denied. To the extent these allegations are directed to parties other than Westlake,

no response is required. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       28.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit A” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

       29.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.




                                                   4
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 5 of 54




        30.       Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        31.       Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

        32.       Denied. These allegations are conclusions of law, are directed to parties other than

Westlake and to refer to Plaintiff’s state of mind and, therefore, no response is required.

        33.       Denied. These allegations are directed to parties other than Westlake and to refer

to Plaintiff’s state of mind and, therefore, no response is required.

        34.       Denied. To the extent these allegations are directed to parties other than Westlake

and constitute conclusions of law, no response is required. Westlake is aware that Plaintiff

purchased     a      2013   Lamborghini    Aventador    bearing   Vehicle    Identification   Number

ZHWUC1ZD3DLA01341 (the “Aventador”) from independently owned and operated motor

vehicle dealer, defendant Best Car N’ Care, Inc. Plaintiff’s “Exhibit B” is a document that speaks

for itself and, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of the allegations contained therein.

        35.       Denied. Westlake is aware that Plaintiff purchased the Aventador from defendant

Best Car N’ Care, Inc. on or about March 25, 2022. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        36.       Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. Any downpayment made by Plaintiff for the purchase of the

Aventador was made to and retained by defendant Best Car N’ Care, Inc.




                                                   5
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 6 of 54




       37.      Denied.    Plaintiff’s “Exhibit B” is a document that speaks for itself and, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to the truth of the allegations contained therein.

       38.     Denied as stated. Westlake purchased and serviced the Retail Installment Sales

Contract and Security Agreement (the “Contract”) for the Aventador.

       39.     Denied. To the extent that these allegations constitute conclusions of law, no

response is required. It denied that Westlake prepared the Contract. Plaintiff’s “Exhibit C” is a

document that speaks for itself. As to the remaining allegations, Westlake is without sufficient

knowledge or information to form a belief as to their truth.

       40.      Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       41.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       42.     Denied. To the extent these allegations refer to parties other than Westlake, no

response is required. As to the remaining allegations, after reasonable investigation, Westlake is

without sufficient knowledge or information to form a belief as to their truth.

       43.     Denied. To the extent these allegations are conclusions of law and refer to parties

other than Westlake, no response is required. The remaining allegations are denied as to Westlake.

       44.     Denied. To the extent these allegations are conclusions of law, no response is

required. It is denied that Westlake provided any warranty to Plaintiff for the Aventador. As to

the remaining allegations, after reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to their truth. Plaintiff’s “Exhibit B” is a document that speaks




                                                  6
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 7 of 54




for itself and, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of the allegations contained therein.

       45.     Denied. It is denied that Westlake provided any warranty to Plaintiff or for the

Aventador. As to the remaining allegations, after reasonable investigation, Westlake is without

sufficient knowledge or information to form a belief as to their truth.

       46.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       47.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       48.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       49.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       50.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit E” is a

document that speaks for itself and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

       51.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit D” is a

document that speaks for itself and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

       52.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.



                                                  7
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 8 of 54




       53.     Denied.      These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit E” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

       54.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       55.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       56.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit D” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

       57.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       58.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       59.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       60.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit F” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.




                                                   8
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 9 of 54




       61.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       62.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit G” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

       63.     Denied.      These allegations are directed to parties other than Westlake and

constitute conclusions of law and no response is required.

       64.     Denied.     These allegations are directed to parties other than Westlake and are

conclusions of law and no response is required.

       65.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit H” is a

document that speaks for itself and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

       66.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       67.     Denied. These allegations are directed to parties other than Westlake and refer to

Plaintiff’s state of mind, therefore, no response is required.

       68.     Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. Plaintiff’s “Exhibit I” is a document that

speaks for itself and, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of the allegations contained therein.




                                                   9
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 10 of 54




       69.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       70.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       71.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       72.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       73.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       74.     Denied. These allegations are directed to parties other than Westlake and, therefore,

no response is required.

       75.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       76.     Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       77.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       78.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       79.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.




                                                  10
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 11 of 54




        80.      Denied.   These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit J” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

        81.      Denied. To the extent these allegations are directed to parties other than Westlake

and are conclusions of law, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        82.      Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

        83.      Denied.   These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit J” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

        84.      Denied. To the extent these allegations are directed to parties other than Westlake

and are conclusions of law, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        85.      Denied. These allegations are directed to parties other than Westlake and constitute

are of law and, therefore, no response is required.

        86.      Denied.   These allegations are directed to parties other than Westlake and,

therefore, no response is required.      Plaintiff’s “Exhibit K” are photographs that speak for




                                                  11
           Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 12 of 54




themselves and, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of the allegations contained therein.

       87.      Denied as to Westlake.

       88.      Denied. These allegations are directed to parties other than Westlake and refer to

Plaintiff’s state of mind and, therefore, no response is required. Plaintiff’s “Exhibit K” are

photographs that speak for themselves and, after reasonable investigation, Westlake is without

sufficient knowledge or information to form a belief as to the truth of the allegations contained

therein.

       89.      Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       90.      Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       91.      Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       92.      Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       93.      Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       94.      Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       95.      Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.




                                                  12
           Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 13 of 54




       96.      Denied.   These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       97.      Denied.    These allegations are directed to parties other than Westlake, are

conclusions of law and refer to Plaintiff’s state of mind and, therefore, no response is required.

       98.      Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       99.      Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       100.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit L” are

documents that speaks for themselves and, after reasonable investigation, Westlake is without

sufficient knowledge or information to form a belief as to the truth of the allegations contained

therein.

       101.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       102.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       103.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       104.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       105.     Denied.      These allegations are directed to parties other than Westlake and,

therefore, no response is required.      Plaintiff’s “Exhibit L” are documents that speaks for



                                                  13
           Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 14 of 54




themselves and, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of the allegations contained therein.

       106.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       107.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit G” is a

document that speaks for itself and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

       108.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       109.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       110.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required. Plaintiff’s “Exhibit C” is a document

that speaks for itself and, after reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of the allegations contained therein.

       111.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required. Plaintiff’s “Exhibit H” and “Exhibit J”

are documents that speaks for themselves and, after reasonable investigation, Westlake is without

sufficient knowledge or information to form a belief as to the truth of the allegations contained

therein.

       112.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required. Plaintiff’s “Exhibit L” are documents



                                                  14
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 15 of 54




that speaks for themselves and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

        113.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        114.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        115.     Denied. To the extent these allegations are directed to parties other than Westlake

and are conclusions of law, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        116.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

        117.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

        118.     Denied. To the extent these allegations are directed to parties other than Westlake

and constitute conclusions of law, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        119.     Denied. These allegations are conclusions of law and, therefore, no response is

required. Plaintiff’s “Exhibit M” is a document that speaks for itself and, after reasonable

investigation, Westlake is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained therein.




                                                  15
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 16 of 54




       120.    Denied. To the extent these allegations constitute conclusions of law, no response

is required. As to the remaining allegations, after reasonable investigation, Westlake is without

sufficient knowledge or information to form a belief as to their truth and, therefore, they are denied

and strict proof thereof is demanded.

       121.    Denied. To the extent these allegations are directed to parties other than Westlake

and constitute conclusions of law, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth. Plaintiff’s “Exhibit M” is a document that speaks for itself and, after reasonable

investigation, Westlake is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained therein.

       122.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       123.    Denied. To the extent these allegations are conclusions of law, no response is

required. As to the remaining allegations, after reasonable investigation, Westlake is without

sufficient knowledge or information to form a belief as to their truth.

       124.    Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       125.    Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       126.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       127.    Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.



                                                  16
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 17 of 54




       128.    Denied. These allegations are directed to parties other than Westlake and, therefore,

no response is required.

       129.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       130.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       131.    Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       132.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       133.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       134.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit N” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

       135.    Denied. These allegations refer to Plaintiff’s state of mind and, therefore, no

response is required.

       136.    Denied.     These allegations are directed to parties other than Westlake, refer to

Plaintiff’s state of mind and are conclusions of law and, therefore, no response is required.

       137.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit O” are document that speaks for itself and,




                                                  17
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 18 of 54




after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

        138.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        139.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        140.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        141.     Denied.   These allegations are directed to parties other than Westlake and,

therefore, no response is required.

        142.     Denied.   These allegations are directed to parties other than Westlake and,

therefore, no response is required.       Plaintiff’s “Exhibit L” are documents that speaks for

themselves and, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of the allegations contained therein.

        143.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        144.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

        145.     Denied. To the extent these allegations are directed to parties other than Westlake

and constitute conclusions of law, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.




                                                  18
           Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 19 of 54




       146.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit L” are

documents that speaks for themselves and, after reasonable investigation, Westlake is without

sufficient knowledge or information to form a belief as to the truth of the allegations contained

therein.

       147.     Denied.   These allegations are directed to parties other than Westlake and,

therefore, no response is required.      Plaintiff’s “Exhibit L” are documents that speaks for

themselves and, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to the truth of the allegations contained therein.

       148.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       149.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       150.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required. Plaintiff’s “Exhibit L” are documents

that speaks for themselves and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

       151.      Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       152.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       153.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.



                                                  19
           Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 20 of 54




       154.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       155.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       156.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       157.     Denied. To the extent these allegations refer to Plaintiff’s state of mind, no

response is required. As to the remaining allegations, after reasonable investigation, Westlake is

without sufficient knowledge or information to form a belief as to their truth. Plaintiff’s “Exhibit

C” is a document that speaks for itself and, after reasonable investigation, Westlake is without

sufficient knowledge or information to form a belief as to the truth of the allegations contained

therein.

       158.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       159.     Denied.

       160.     Denied. The Contract is a document that speaks for itself.

       161.     Denied as to Westlake.

       162.     Denied as to Westlake.

       163.     Denied as to Westlake.

       164.     Denied as to Westlake. Defendant Best Car N’ Car was an independently owned

and operated automobile dealership.

       165.     Denied as to Westlake. Westlake purchased the Contract from defendant Best Car

N’ Care and serviced same. Plaintiff’s “Exhibit P” is a document that speaks for itself.



                                                  20
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 21 of 54




       166.    Denied as stated.      Westlake purchased the Contract for the Aventador from

defendant Best Car N’ Care and serviced same.

       167.    Denied as stated. Westlake purchased the Contract from defendant Best Car N’

Care and serviced same. As to the remaining allegations, after reasonable investigation, Westlake

is without sufficient knowledge or information to form a belief as to their truth and, therefore, they

are denied and strict proof thereof is demanded.

       168.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       169.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. Plaintiff’s “Exhibit N” is a document that speaks for itself and,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to the truth of the allegations contained therein.

       170.    Denied.

       171.    Denied.

       172.    Denied.

       173.    Denied.

       174.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       175.    Denied.

       176.    Denied. To the extent these allegations constitute conclusions of law, no response

is required. If a response is deemed necessary, Westlake refers Plaintiff to terms of the Contract

and denies the remaining allegations in this paragraph.




                                                  21
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 22 of 54




       177.    Denied. These allegations are directed to parties other than Westlake and refer to

Plaintiff’s state of mind and, therefore, no response is required.

       178.    Denied as stated. It is admitted that Plaintiff stopped making payments to Westlake

for the Aventador.

       179.    Denied as stated. It is admitted that Westlake picked up the Aventador from an

impound lot.

       180.    Denied.

       181.    Denied as stated. It is admitted that Westlake picked up the Aventador from an

impound lot.

       182.    Denied.

       183.    Denied. Plaintiff was informed and was aware that the Aventador was repossessed

well before filing his Second Amended Complaint and accordingly, this allegation does not

comply with Fed. R. Civ. Pro. 11(b)(4) and should be withdrawn and stricken from the Second

Amended Complaint.

       184.    Denied. Westlake provided Plaintiff with a Notice of Intent following repossession

on or around September 24, 2023. Therefore, this allegation does not comply with Fed. R. Civ.

Pro. 11(b)(4) and should be withdrawn and stricken from the Second Amended Complaint.

       185.    Denied.

       186.    Denied. Westlake charged off the account on or around April 2023 and denies the

remaining allegations are denied.

       187.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit Q” is a




                                                 22
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 23 of 54




document that speaks for itself and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

         188.   Denied. Plaintiff’s “Exhibit Q” is a document that speaks for itself and, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to the truth of the allegations contained therein.

         189.   Denied. Plaintiff’s “Exhibit Q” is a document that speaks for itself and, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to the truth of the allegations contained therein.

         190.   Denied. Insofar as these allegations are directed to parties other than Westlake and

are conclusions of law, no response is required. As to the remaining allegations, after reasonable

investigation, Westlake is without sufficient knowledge or information to form a belief as to their

truth.   Plaintiff’s “Exhibit R” is a document that speaks for itself and, after reasonable

investigation, Westlake is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained therein.

         191.   Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit R” is a

document that speaks for itself and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

         192.   Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

         193.   Denied.

         194.   Denied as to Westlake.




                                                  23
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 24 of 54




       195.    Denied as to Westlake. It is specifically denied that Plaintiff is entitled to treble

damages from Westlake.

       196.    Denied as to Westlake. It is specifically denied that Plaintiff is entitled to punitive

damages from Westlake.

       AS TO “FACTS OCCURRING AFTER THE FILING OF THE AMENDED
                            COMPLAINT”

       197.    Denied.

       198.    Admitted.

       199.    Admitted.

       200.    Admitted.

       201.    Denied. Westlake issued a check payable to Plaintiff’s attorneys of record in this

lawsuit dated April 10, 2024 in the amount of $65,549.95 for the surplus received following its

sale of the Aventador.     See Exhibit A. Therefore, this allegation does not comply with Fed. R.

Civ. Pro. 11(b)(4) and should be withdrawn and stricken from the Second Amended Complaint.

IV.    AS TO CAUSES OF ACTION

                                            COUNT I

BREACH OF WARRANTIES/VIOLATION OF THE MAGNUSON-MOSS WARRANTY
     ACT 15 U.S.C. § 2301, et. seq. (CONSUMER PRODUCT WARRANTIES)

                    Plaintiff v. Best Car N’ Care, Inc. and Oleg Tyulenev

       202.    Westlake incorporates herein by reference its responses to the proceeding

paragraphs.

       203.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake, therefore, no response is required.




                                                 24
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 25 of 54




       204.    Denied. These allegations are conclusions of law and, therefore, no response is

required.

       205.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

       206. Denied. These allegations are conclusions of law and, therefore, no response is

required.

       207(a)-(k), inclusive. Denied. These allegations are conclusions of law and are directed

to parties other than Westlake and, therefore, no response is required.

       208.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       209.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       210.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations..

       211.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       212.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

sufficient knowledge or information to form a belief as to the truth of these allegations.

       213.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

sufficient knowledge or information to form a belief as to the truth of these allegations.




                                                  25
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 26 of 54




       214.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       215.    Denied.     These allegations are directed to parties other than Westlake, are

conclusions of law and refer to Plaintiff’s state of mind, and, therefore, no response is required.

       216.    Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

sufficient knowledge or information to form a belief as to the truth of these allegations.

       217.    Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

sufficient knowledge or information to form a belief as to the truth of these allegations.

       218.    Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

sufficient knowledge or information to form a belief as to the truth of these allegations.

       219.    Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

sufficient knowledge or information to form a belief as to the truth of these allegations.

       220.    Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

sufficient knowledge or information to form a belief as to the truth of these allegations.

       221.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit K” are

photographs that speak for themselves and, after reasonable investigation, Westlake is without




                                                  26
           Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 27 of 54




sufficient knowledge or information to form a belief as to the truth of the allegations contained

therein.

       222.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       223.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       224.     Denied. These allegations are directed to parties other than Westlake and, therefore,

no response is required.

       225.     Denied in part, admitted in part. These allegations are directed to parties other than

Westlake and, therefore, no response is required. It is admitted that Westlake picked up the

Aventador from an impound lot. As to the remaining allegations, after reasonable investigation,

Westlake is without sufficient knowledge or information to form a belief as to their truth.

       226.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations. Plaintiff’s “Exhibit L” is a

document that speak for itself and, after reasonable investigation, Westlake is without sufficient

knowledge or information to form a belief as to the truth of the allegations contained therein.

       227.     Denied.

       228.     Denied as to Westlake.

       229.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       230.     Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.




                                                 27
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 28 of 54




       WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Second Amended Complaint, including

but not limited to, costs, fees, interest, or any other relief and Westlake demands judgment in its

favor and against Plaintiff on all claims asserted in his Second Amended Complaint, together with

costs of suit, attorney’s fees and/or any other relief deemed appropriate by this Honorable Court.

                                             COUNT II

                                              FRAUD

                     Plaintiff v. Best Car N’ Care, Inc. and Oleg Tyulenev

       231.    Westlake incorporates herein by reference its responses to the proceeding

paragraphs.

       232.    Denied. These allegations are directed to parties other than Westlake and are

conclusions of law and, therefore, no response is required.

       233.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       234.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       235.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

       236.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

       237.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.




                                                  28
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 29 of 54




       238.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       239.    Denied as stated. Upon opening an account with Westlake, Plaintiff would have

been provided with certain information, including an automatic payment option.

       240(a)-(g), inclusive. Denied. These allegations are conclusions of law and are directed

to parties other than Westlake and, therefore, no response is required.

       241.    Denied. It is denied that Westlake forged any document. As to the remaining

allegations, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to their truth.

       242.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

       243.    Denied. It is denied that Westlake is or was a “co-conspirator”.          Westlake

purchased the Contract from defendant Best Car N’ Care and serviced same. As to the remaining

allegations, after reasonable investigation, Westlake is without sufficient knowledge or

information to form a belief as to their truth.

       244.    Denied. It is denied that Westlake forged any document. Westlake purchased the

Contract from defendant Best Car N’ Care and serviced same.

       245.    Admitted.

       246.    Denied. Albeit incomplete, this allegation is a conclusion of law and is directed to

parties other than Westlake and, therefore, no response is required.

       247. Denied. These allegations are directed to parties other than Westlake and, therefore,

no response is required.




                                                  29
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 30 of 54




        248.     Denied.    These allegations are directed to parties other than Westlake and,

therefore, no response is required.

        249.     Denied. To the extent these allegations are directed to parties other than Westlake

and refer to Plaintiff’s state of mind, no response is required. As to the remaining allegations,

after reasonable investigation, Westlake is without sufficient knowledge or information to form a

belief as to their truth.

        250.     Denied. These allegations refer to Plaintiff’s state of mind and, therefore, no

response is required.

        251.     Denied. These allegations refer to Plaintiff’s state of mind and, therefore, no

response is required.

        252.     Denied. These allegations refer to Plaintiff’s state of mind and, therefore, no

response is required.

        253.     Denied. To the extent these allegations are conclusions of law and are directed to

parties other than Westlake, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        254.     Denied. To the extent these allegations are conclusions of law and are directed to

parties other than Westlake, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        255.     Denied. These allegations are directed to parties other than Westlake and refer to

Plaintiff’s state of mind and, therefore, no response is required.




                                                 30
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 31 of 54




       256.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

       257.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

       258.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

       259.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

       260.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same. Westlake specifically denies that Plaintiff is entitled

to punitive damages from it.

       WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Second Amended Complaint, including

but not limited to, costs, fees, interest, punitive damages or any other relief and defendant Westlake

Services demands judgment in its favor and against Plaintiff on all claims asserted in his Second

Amended Complaint, together with costs of suit, attorney’s fees and/or any other relief deemed

appropriate by this Honorable Court.




                                                  31
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 32 of 54




                                            COUNT III

                                  CONVERSION OF CHATTEL

Plaintiff v. Best Car N’ Care, Inc., Oleg Tyulenev, Corsa Motors, LLC and F.C. Kerbeck &
                            Sons d/b/a Lamborghini of Palmyra

        261.     Westlake incorporates herein by reference its responses to the proceeding

paragraphs.

        262.     Denied as stated. It is admitted that Plaintiff was the titled “owner” of the

Aventador subject to Westlake’s security interest and lien.

        263.     Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        264.     Denied. To the extent these allegations are directed to parties other than Westlake,

no response is required. As to the remaining allegations, after reasonable investigation, Westlake

is without sufficient knowledge or information to form a belief as to their truth.

        265.     Denied. To the extent these allegations are directed to parties other than Westlake,

no response is required. As to the remaining allegations, after reasonable investigation, Westlake

is without sufficient knowledge or information to form a belief as to their truth.

        266.     Denied. To the extent these allegations are conclusions of law and are directed to

parties other than Westlake, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        267.     Denied. To the extent these allegations are conclusions of law and are directed to

parties other than Westlake, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

                                                  32
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 33 of 54




        268.     Denied. To the extent these allegations are conclusions of law and are directed to

parties other than Westlake, no response is required. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        269.     Denied. To the extent these allegations are directed to parties other than Westlake,

no response is required. As to the remaining allegations, after reasonable investigation, Westlake

is without sufficient knowledge or information to form a belief as to their truth.

        270.     Denied. To the extent these allegations are directed to parties other than Westlake,

no response is required. As to the remaining allegations, after reasonable investigation, Westlake

is without sufficient knowledge or information to form a belief as to their truth.

        271.     Denied. To the extent these allegations are directed to parties other than Westlake,

no response is required. As to the remaining allegations, after reasonable investigation, Westlake

is without sufficient knowledge or information to form a belief as to their truth.

        272.     Denied in part, admitted in part. To the extent these allegations are conclusions of

law and are directed to parties other than Westlake, no response is required. It is admitted that

Westlake picked up the Aventador from an impound lot. As to the remaining allegations, after

reasonable investigation, Westlake is without sufficient knowledge or information to form a belief

as to their truth.

        273.     Denied as stated. Westlake refers Plaintiff to para. 178 of his Second Amend.

Complaint and Westlake’s response thereto.

        274.     Denied as stated. It is admitted that Westlake ordered the repossession of the

Aventador following Plaintiff’s default under the Contract.




                                                  33
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 34 of 54




        275.    Denied. To the extent these allegations are directed to parties other than Westlake,

no response is required. As to the remaining allegations, after reasonable investigation, Westlake

is without sufficient knowledge or information to form a belief as to their truth.

        276.    Admitted.

        277.    Admitted.

        278.    Denied. These allegations constitute conclusions of law and, therefore, no response

is required.

        279.    Denied.     These allegations constitute conclusions of law and, therefore, no

response is required. If Plaintiff sustained any losses or damages, Westlake denies any and all

liability for same.

        280.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

        281.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

        282.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same. Westlake specifically denies that Plaintiff is entitled

to punitive damages from it.

        WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Second Amended Complaint, including

but not limited to, costs, fees, interest, punitive damages or any other relief and defendant Westlake



                                                  34
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 35 of 54




demands judgment in its favor and against Plaintiff on all claims asserted in his Second Amended

Complaint, together with costs of suit, attorney’s fees and/or any other relief deemed appropriate

by this Honorable Court.

                                            COUNT IV

                     VIOLATION OF PENNSYLVANIA’S
         UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW

                     Plaintiff v. Best Car N’ Care, Inc. and Oleg Tyulenev

        283.   Westlake incorporates herein by reference its responses to the proceeding

paragraphs.

        284.   Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        285.   Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

        286.   Denied. These allegations are directed to parties other than Westlake and constitute

conclusions of law and, therefore, no response is required.

        287.   Denied. These allegations constitute conclusions of law and, therefore, no response

is required.

        288(a)-(d), inclusive. Denied. These allegations are directed to parties other than Westlake

and constitute conclusions of law and, therefore, no response is required..

        289.   Denied. These allegations are directed to parties other than Westlake and constitute

conclusions of law and, therefore, no response is required.

        290.   Denied. These allegations are conclusions of law and, therefore, no response is

required. If Plaintiff sustained any damages or losses, Westlake denies any and all liability for

same.

                                                  35
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 36 of 54




       291.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

       292.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

       293.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same. Westlake specifically denies that Plaintiff is entitled

to punitive damages from it.

       WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Second Amended Complaint, including

but not limited to, costs, fees, interest, punitive damages or any other relief and defendant Westlake

demands judgment in its favor and against Plaintiff on all claims asserted in his Second Amended

Complaint, together with costs of suit, attorney’s fees and/or any other relief deemed appropriate

by this Honorable Court.

                                             COUNT V

                             PIERCING THE CORPORATE VEIL

                     Plaintiff v. Best Car N’ Care, Inc. and Oleg Tyulenev

       294.    Westlake incorporates herein by reference its responses to the proceeding

paragraphs.




                                                  36
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 37 of 54




        295.    Denied as stated. These allegations are directed to parties other than Westlake and,

therefore, no response is required. Westlake is aware that Oleg Tyulenev was the principal of Best

Car N’ Care, Inc.

        296.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

        297.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

        298.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

        299.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. Westlake is aware that Best Car N’ Care,

Inc. is out of business.

        300.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

        301.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

        WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Amended Complaint, including but not

limited to, costs, fees, interest, punitive damages or any other relief and defendant Westlake

demands judgment in its favor and against Plaintiff on all claims asserted in his Amended

Complaint, together with costs of suit, attorney’s fees and/or any other relief deemed appropriate

by this Honorable Court.




                                                 37
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 38 of 54




                                            COUNT VI

     [IT IS DENIED THAT] DEFENDANT WESTLAKE HAS VIOLATED THE
  PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION
                                LAW

                          Plaintiff v. Westlake Financial Services, LLC

       302.    Westlake incorporates herein by reference its responses to the proceeding

paragraphs.

       303.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       304.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       305.    Denied. These allegations are conclusions of law and, therefore, no response is

required. It is admitted that Westlake are business in the Commonwealth of Pennsylvania.

       306.    Denied as stated. Westlake is a consumer finance company engaged in the business

of purchasing and servicing motor vehicle retail installment sales contracts.

       307.    Denied as stated. Westlake is aware that Best Car N’ Care was an independently

owned and operated used automobile dealer.

       308.    Denied. These allegations are conclusions of law and, therefore, no response is

required.

       309.    Denied. These allegations are conclusions of law and, therefore, no response is

required.

       310.    Denied. These allegations are conclusions of law and, therefore, no response is

required.

       311(a)-(j), inclusive. Denied.



                                                  38
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 39 of 54




       312.    Denied.

       313.    Denied.

       314.    Denied.

       315.    Denied.

       WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Second Amended Complaint, including

but not limited to, costs, fees, interest, punitive damages or any other relief and defendant Westlake

demands judgment in its favor and against Plaintiff on all claims asserted in his Second Amended

Complaint, together with costs of suit, attorney’s fees and/or any other relief deemed appropriate

by this Honorable Court.

                                            COUNT VII

                                          NEGLIGENCE

                          Plaintiff v. Westlake Financial Services, LLC

       316.    Westlake incorporates herein by reference its responses to the proceeding

paragraphs.

       317.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       318.    Denied. After reasonable investigation, Westlake is without sufficient knowledge

or information to form a belief as to the truth of these allegations.

       319.    Denied. These allegations are conclusions of law and, therefore, no response is

required. It is admitted that Westlake conducts business in the Commonwealth of Pennsylvania.

       320.    Denied as stated. Westlake is a consumer finance company engaged in the business

of purchasing and servicing motor vehicle retail installment sales contracts.



                                                  39
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 40 of 54




       321.    Denied as stated. Westlake is aware that Best Car N’ Care was an independently

owned and operated used motor vehicle dealer.

       322.    Denied. These allegations are conclusions of law and, therefore, no response is

required.

       323.    Denied. These allegations are conclusions of law and, therefore, no response is

required.

       324.    Denied. These allegations are conclusions of law and, therefore, no response is

required.

       325.    Denied.

       326.    Denied.

       327(a)-(j), inclusive. Denied.

       328.    Admitted.

       329.    Denied in part, admitted in part. These allegations are conclusions of law and,

therefore, no response is required. It is admitted that Westlake issued a check payable to Plaintiff’s

attorneys of record in this lawsuit dated April 10, 2024 in the amount of $65,549.95 for the surplus

received following its sale of the Aventador. See Ex. A.

       330.    Denied. Westlake issued a check payable to Plaintiff’s attorneys of record in this

lawsuit dated April 10, 2024 in the amount of $65,549.95 for the surplus received following its

sale of the Aventador.    See Ex. A. Therefore, this allegation does not comply with Fed. R. Civ.

Pro. 11(b)(4) and should be withdrawn and stricken from the Second Amended Complaint.

       331.    Denied.

       332.    Denied.

       333.    Denied.



                                                 40
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 41 of 54




       WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Second Amended Complaint, including

but not limited to, costs, fees, interest, punitive damages or any other relief and defendant Westlake

demands judgment in its favor and against Plaintiff on all claims asserted in his Second Amended

Complaint, together with costs of suit, attorney’s fees and/or any other relief deemed appropriate

by this Honorable Court.

                                           COUNT VIII

     DEFENDANT LAMBORGHINI OF PALMYRA RLEASED (sic) PLAINTIFF’S
     VEHICLE TO A PARTY WHICH WAS NOT THE TITLED OWNER OF THE
                             VEHICLE

                                          NEGLIGENCE

               Plaintiff v. F.C. Kerbeck & Sons d/b/a Lamborghini of Palmyra

       334.    Westlake incorporates herein by reference its responses to the proceeding

paragraphs.

       335.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       336.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       337(a)-(e), inclusive. Denied. These allegations are conclusions of law and are directed

to parties other than Westlake and, therefore, no response is required.

       338.    Denied as to Westlake.

       339.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.



                                                  41
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 42 of 54




.

       340.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

       341.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same.

       342.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required. If Plaintiff sustained any losses or damages,

Westlake denies any and all liability for same. Westlake specifically denies that Plaintiff is entitled

to punitive damages from it.

       WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Second Amended Complaint, including

but not limited to, costs, fees, interest, punitive damages or any other relief and defendant Westlake

demands judgment in its favor and against Plaintiff on all claims asserted in his Second Amended

Complaint, together with costs of suit, attorney’s fees and/or any other relief deemed appropriate

by this Honorable Court.

                                            COUNT IX

                                      CIVIL CONSPIRACY

         Plaintiff v. Best Car N’ Care, Inc., Oleg Tyulenev and Corsa Motors, LLC

       343.    Westlake incorporates herein by reference its responses to the proceeding

paragraphs.




                                                  42
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 43 of 54




       344.    Denied. These allegations are conclusions of law and are directed to parties other

than Westlake and, therefore, no response is required.

       345.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       346. Denied. These allegations are directed to parties other than Westlake and, therefore,

no response is required.

       347.    Denied.     After reasonable investigation, Westlake is without knowledge or

information to form a belief as to the truth of these allegations.

       348     Denied.      These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       349.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

knowledge or information to form a belief as to the truth of these allegations.

       350.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required. After reasonable investigation, Westlake is also without

knowledge or information to form a belief as to the truth of these allegations.

       351.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       352.    Denied.     These allegations are directed to parties other than Westlake and,

therefore, no response is required.

       353.    Denied as stated. These allegations refer to Plaintiff’s state of mind and, therefore,

no response is required.   It is admitted that Westlake picked up the Aventador from an impound

lot.



                                                 43
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 44 of 54




        354.    Denied. These allegations are conclusions of law and, therefore, no response is

required. If Plaintiff sustained any losses or damages, Westlake denies any and all liability for

same.

        355.    Denied as stated. To the extent these allegations refer to the state of mind of other

parties, no response is required. It is admitted that Westlake picked up the Aventador from an

impound lot. As to the remaining allegations, Westlake is without knowledge or information to

form a belief as to their truth.

        356.      Denied. These allegations are conclusions of law and, therefore, no response is

required. If Plaintiff sustained any losses or damages, Westlake denies any and all liability for

same.

        WHEREFORE, defendant Westlake denies that Plaintiff is entitled to any judgment

against it in any amount or any of the relief sought in his Second Amended Complaint, including

but not limited to, costs, fees, interest, punitive damages or any other relief and defendant Westlake

demands judgment in its favor and against Plaintiff on all claims asserted in his Second Amended

Complaint, together with costs of suit, attorney’s fees and/or any other relief deemed appropriate

by this Honorable Court.

                           DEFENDANT, WESTLAKE’S DEFENSES

        1.      Plaintiff has failed to state a cause of action upon which relief can be granted as to

Westlake.

        2.      Plaintiff’s claims may be barred, in whole or in part, by the doctrines of laches,

waiver, estoppel, res judicata or unclean hands.

        3.      Plaintiff’s claims may be barred, in whole or in part, by the applicable statute of

limitations and/or by the statute of frauds.



                                                 44
           Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 45 of 54




        4.      The claims set forth in the Second Amended Complaint may barred by accord and

satisfaction or by virtue of a release.

        5.      The alleged losses, claims and damages suffered by the Plaintiff were caused by

the acts or omissions of Plaintiff or other parties over which Westlake had no control or right of

control.

        6.      Plaintiff may have failed to timely and/or properly issue and serve the Summons

and original Complaint.

        7.      Westlake did not violate any legal duty owed by it to the Plaintiff, if any.

        8.      Westlake did not violate or breach any statutory obligations or breach any

contractual obligation(s) expressed, implied and/or arising by operation of law.

        9.      Any conduct allegedly causing liability on the part of Westlake was not an actual

cause or a proximate cause of Plaintiff’s alleged injuries, damages and/or losses.

        10.     The injuries, damages and/or losses allegedly sustained by Plaintiffs may have been

caused entirely by, or contributed to by, the fraudulent or negligent acts and omissions of

individuals and entities other than answering defendant which constitute intervening, superseding

causes and/or constitute tortuous inference with a contract.

        11.     Westlake generally denies each and every allegation contained in Plaintiff’s Second

Amended Complaint as it relates to its alleged liability.

        12.     Plaintiff, entities and/or other persons not in the control of Westlake may be

responsible for the destruction and/or spoliation of evidence resulting in prejudice to defendant in

its ability to prepare a defense to the claims asserted against it in this lawsuit.

        13.     Plaintiff’s claims may be preempted in whole or in part by federal and/or state

statutes and regulations.



                                                   45
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 46 of 54




       14.      Plaintiff may have failed to mitigate his alleged damages.

       15.      Westlake did not act with evil malic and/or intent, with disregard and reckless

indifference, outrageously, maliciously, intentionally, willfully, fraudulently or negligently.

       16.      Plaintiff may have failed to provide Westlake with proper notices as required under

the Uniform Commercial Code.

       17.      Any contract(s) provided speak for itself and Westlake hereby pleads the terms,

conditions and any limitations contained in said contract(s) and that they were properly limited,

disclaimed, excluded or modified.

       18.      Plaintiff’s Second Complaint fails to state a cause of action for punitive damages

against Westlake.

       19.      The imposition of punitive damages violates the United States Constitution and the

Eighth Amendment guarantee against excessive fines.

       20.      The imposition of punitive damages violates the Due Process Clause and the Equal

Protection Clause of the United States Constitution and the Constitution of the Commonwealth of

Pennsylvania.

       21.      Notwithstanding the fact that Westlake claims punitive damages are inapplicable,

it avers that the evidence relative to punitive damages shall not be admissible in the compensatory

damages proceedings and that a secondary trial/proceeding be conducted to determine whether

punitive damages are to be awarded if a jury should award compensatory damages.

       22.      Notwithstanding that Westlake claims punitive damages are inapplicable, if the

trier of fact determines, in a secondary trial, that punitive damages should be awarded, then a third

proceeding should be conducted to determine the amount of said damages.




                                                 46
         Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 47 of 54




         23.   Plaintiff’s claims may be barred, in whole or in part, by his repudiation of

contractual obligations.

         24.   Plaintiff’s claims may be barred, in whole or in part, due to impossibility of

performance.

         25.   Plaintiff’s claims may be barred, in whole or in part, for justification and under the

equitable theories of equitable estoppel and/or quantum merit.

         26.   Westlake may not be the holder in due course of the retail installment contract for

the involved vehicle.

         27.   Westlake pleads the arbitration clause in any applicable retail installment contract

for the involved vehicle.

         28.   Plaintiff may not have standing to bring the instant lawsuit because he failed to

comply with the arbitration clause in the retail installment contract for the involved vehicle.

         29.   Westlake pleads that its acts and practices complied with the rules and regulations

of, and the statutes administered by, the federal trade commission or any official department,

division, commission or agency of the United States as such rules, regulations or statutes as

interpreted by the federal trade commission or such department, division, commission or agency

or the federal courts.

         30.   Westlake pleads all defenses and limitations available to it under the Truth in

Lending Act, 15 U.S.C. §1601 et seq., including but not limited those set forth in §1640(b)-(d) and

§1641.

         31.   Westlake pleads the dealer agreement and/or assignment contract with defendant,

Best Car N’ Care, Inc. and states that such agreement(s) eliminates or diminishes the alleged

liability of Westlake.



                                                 47
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 48 of 54




       32.     Plaintiff’s claims are barred because any alleged representations or conduct on the

part of Westlake were made in good faith and were not intended to deceive Plaintiff.

       33.     Westlake reserves the right upon completion of investigation and discovery to file

such additional affirmative defenses, crossclaims or counterclaims as may be appropriate.

       34.     To the extent Plaintiff’s claims are based on fraud or fraudulent misrepresentation,

such claims are barred because he has not pointed to any alleged representations and actions of

Westlake that were material or otherwise likely to mislead consumers acting reasonably under the

circumstances nor has she pointed to any alleged representations or actions of Westlake that did

or were likely to either affect Plaintiff’s decisions or to any conduct that proximately and/or

actually caused her to act differently which is attributable to Westlake.

       35.     Plaintiff’s claims against Westlake are barred because any alleged conduct or

actions on the part of Westlake was in good faith or was the result of a bona fide error.

       36.     The damages allegedly suffered by Plaintiff were caused, in whole or in part, or

exacerbated by his own negligence, fraudulent, improper, unlawful and/or culpable conduct or

omissions and, accordingly, his claims are therefore barred or diminished in the proportion that

such conduct or omissions bears to the total culpable conduct causing the alleged damages.

       37.     Plaintiff may have failed to exercise ordinary care, caution, or prudence to avoid

the damages complained of, and that such damages, if any, were directly and proximately

contributed to and caused by her.

       38.     Plaintiff may have breached the contract with Westlake and, as a result, Westlake

has been excused of its duties to perform all obligations set forth in said contract.

       39.     Westlake did not, intentionally or unintentionally, make any fraudulent or false

representations to Plaintiff or omit any material facts.



                                                 48
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 49 of 54




       40.     Westlake did not make or extent any warranties to Plaintiffs and did not breach any

warranties.

       41.     Plaintiffs’ claims for an alleged violation of Pennsylvania Unfair Trade Practices

and Consumer Protection Law fails because he does not allege and cannot show Westlake

committed a deceptive act or practice.

       42.      Recovery for the losses and/or damages alleged in Plaintiff’s Complaint may be

barred and/or limited by the Pennsylvania Fair Share Act and/or the contributory and/or

comparative negligence of plaintiffs pursuant to the Pennsylvania Comparative Negligence Act.

       43.     Joint and/or several liability is unconstitutional and violates the United States

Constitution and Pennsylvania Constitution, including but not limited to Westlake’s rights to due

process and equal protection of the law. Further, several liability is an unconstitutional taking in

light of apportionment under the Pennsylvania Comparative Negligence Act and/or the

Pennsylvania Fair Share Act.

44.    Plaintiff’s Second Amended Complaint fails to state of cause of action for negligence for

failure to return surplus because the surplus was refunded to Plaintiff in April 2024 when Westlake

issued a check payable to Plaintiff’s attorneys of record in this lawsuit dated April 10, 2024 in the

amount of $65,549.95 for the surplus received following its sale of the Aventador.       See Ex. A.

Therefore, Plaintiff’s negligence claim does not comply with Fed. R. Civ. Pro. 11(b)(4) and should

be withdrawn and stricken from the Second Amended Complaint.

       WHEREFORE, defendant Westlake denies Plaintiff is entitled to any judgment against it

for any damages in any amount and/or for attorney’s fees, interest and/or costs and defendant

Westlake demands judgment in its favor and against Plaintiffs on all claims asserted in his Second




                                                 49
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 50 of 54




Amended Complaint together with costs of suit, attorney’s fees and other relief deemed

appropriate by this Honorable Court.

 DEFENDANT WESTLAKE’S CROSSCLAIMS AGAINST DEFENDANTS, BEST CAR
       N’ CARE, INC., OLEG TYULENEV, CORSA MOTORS, LLC AND
          F.C. KERBECK & SONS D/B/A LAMBORGHINI PALMYRA

Count I – Contribution & Indemnification

       1.      Westlake hereby incorporates by reference, without admission or adoption, all well

pled averments in Plaintiff’s Second Amended Complaint and directs them to defendants, Best

Car N’ Care, Inc., Oleg Tyulenev, Corsa Motors, LLC and F.C. Kerbeck & Sons d/b/a

Lamborghini Palmyra.

       2.      Westlake hereby incorporates by reference herein its Answer to Plaintiff’s Second

Amended Complaint with Defenses, above.

       3.      With liability being expressly denied, if Plaintiff suffered damages as alleged in his

Second Amended Complaint, these damages were caused solely by the collective or individual

violations of the Magnuson-Moss Warranty Improvement Act, 15 U.S.C. §2301, et seq.,

Pennsylvania Unfair Trade Practices and Consumer Protection Law and/or breach of warranty,

fraud, negligence, conversion and/or civil conspiracy of defendants, Best Car N’ Care, Inc., Oleg

Tyulenev, Corsa Motors, LLC and F.C. Kerbeck & Sons d/b/a Lamborghini Palmyra, which are

alone liable, solely liable, jointly and/or severally liable and/or liable over to defendant Westlake.

       4.      If defendant Westlake is held liable to Plaintiffs for all or part of such losses or

damages that they may have suffered, defendants, Best Car N’ Care, Inc., Oleg Tyulenev, Corsa

Motors, LLC and F.C. Kerbeck & Sons d/b/a Lamborghini Palmyra are liable to defendant,

Westlake by way of contribution and indemnity, either by way of contract, common law or

otherwise.



                                                 50
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 51 of 54




       WHEREFORE, defendant Westlake Services, LLC d/b/a Westlake Financial Services

demands judgment in its favor and against Plaintiff and defendants, Best Car N’ Care, Inc., Oleg

Tyulenev, Corsa Motors, LLC and F.C. Kerbeck & Sons d/b/a Lamborghini Palmyra, together

with attorney’s fees, costs of suit, and any other relief deemed appropriate by this Honorable Court.

                                 DEMAND FOR JURY TRIAL

       Pursuant to Rule 38, Westlake Services, LLC d/b/a Westlake Financial Services demands

a trial by a jury of twelve members.

                                        LAVIN, CEDRONE, GRAVER, BOYD & DISIPIO



Date: October 3, 2024                  By:    s/ Howard W. Donahue, Jr.
                                              Howard W. Donahue, Jr., Esquire
                                              190 N. Independence Mall West – Suite 500
                                              Philadelphia, PA 19106
                                              Telephone: (215) 627-0303
                                              hdonahue@lavin-law.com
                                              Attorneys for Defendant,
                                              Westlake Services, LLC d/b/a
                                              Westlake Financial Services




                                                 51
Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 52 of 54




               Exhibit A



Westlake Check No. 144281




                              52
Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 53 of 54




                              53
        Case 2:23-cv-03946-MRP Document 39 Filed 10/03/24 Page 54 of 54




                                CERTIFICATE OF SERVICE

       I, Howard W. Donahue, Jr., Esquire, counsel for defendant, Westlake Services, LLC d/b/a

Westlake Financial Services, do hereby certify that on the 3d day of October, 2024 I served a true

and correct copy of Defendant Westlake Services, LLC d/b/a Westlake Financial Services Answer

to Plaintiff’s Second Amended Complaint with Affirmative Defenses, Crossclaims and Jury

Demand on the following counsel of record and unrepresented parties in the manners identified:

This pleading was electronically filed using the ECF system and is available for downloading
and viewing from the ECF system.


                                             /S/ Howard W. Donahue, Jr.
                                             Howard W. Donahue, Jr., Esquire




                                               54
